Jerry Walker
Register Number 04582-089
Federal Correctional Institution
Post Office Box 5000
Pekin, Illinois 61555-5000

 

U.S. DIST. COURT EAST DIST. WISC
FILE
April 21, 2008 S

APR 2 ¢ 2008
Chief Judge | |

Rudolph T. Randa AT Gant
517 East Wisconsin Ave “SON W. SANFILIPPO, CLERK
Milwaukee, WI 53202

 

 

 

 

RE: United States v. Jerry Walker, et al.
No. 96 CR 004 (E.D.Wis.1996)

Honorable Rudolph Randa:

This letter concerns the recent amendment to the United States Sentencing
Guidelines which deal with sentences for cocaine base offenses. Because I
believe that this amendment could potentially affect my sentence, I am
making this inquiry to determine whether I am eligible for representation
by the Public Defender's Office. Please respond to this letter and inform
me if the representation I am seeking is possible. Thank you for your
cooperation and attention in this matter.

Respectfully submitted,

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